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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JOSEPH DIBENEDETTO,                   )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )         CIVIL ACTION NO.
                                      )         1:21-cv-04527-MHC-RDC
AT&T SERVICES, INC.,                  )
                                      )
      Defendant.                      )

                MEMORANDUM OF LAW IN SUPPORT OF
               AT&T SERVICES, INC.’S MOTION TO DISMISS

      Pursuant to Federal Rules of Civil Procedure 12(b)(6) and Northern District

of Georgia Local Rule 7, Defendant AT&T Services, Inc. (“AT&T Services”)

submits this brief in support of its Motion to Dismiss (“Motion”).

                               INTRODUCTION

      On November 2, 2021, Plaintiff Joseph DiBenedetto (“Plaintiff”) filed an

expansive 124-paragraph Complaint alleging numerous theories of employment

discrimination against his former employer AT&T Services. See Dkt. 1 (“Compl.”).

Plaintiff claims that he—a 58-year old white male—is a victim of a corporate-wide

scheme to replace older, white, male employees like him with younger, non-white,

women and thus, his termination could only be the result of unlawful age, race,

and gender discrimination.



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       Even accepting Plaintiff’s incredulous allegations as true for the purposes of

this Motion, his race and age discrimination claims under 42 U.S.C. § 1981

(“Section 1981”) and the Age Discrimination in Employment Act (“ADEA”),

respectively, are barred by Supreme Court jurisprudence. Plaintiff’s Section 1981

claim and his remaining claims for race and gender discrimination under Title VII

of the Civil Rights Act of 1964 (“Title VII”) also fail because he has not sufficiently

pled the prima facie elements of those claims, chiefly that AT&T Services harbored

or acted with discriminatory animus against Plaintiff’s race or gender when it

eliminated his position. Therefore, AT&T Services respectfully requests that the

Court dismiss Plaintiff’s Complaint for failure to state a claim under Fed. R. Civ.

P. 12(b)(6).

                           FACTUAL BACKGROUND1

       During the time relevant to the Complaint, Plaintiff DiBenedetto was an

Assistant Vice President (“AVP”) of Tax Research and Planning at AT&T Services.

Compl. ¶ 23. In March 2017, Plaintiff began reporting to Gary Johnson, Vice

President Property Tax. Id. ¶ 24. By 2020, nine AVPs, including Plaintiff, reported




1AT&T Services disputes the factual allegations asserted by Plaintiff DiBenedetto
in the Complaint and will disprove them should this litigation proceed. However,
AT&T Services accepts Plaintiff’s version of the facts as true (as it must) solely for
purposes of the instant Motion to Dismiss the Complaint. See Ashcroft v. Iqbal, 556
U.S. 662, 667 (2009) (noting courts must accept factual allegations as true when
deciding a motion under Rule 12(b)(6)).

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to Mr. Johnson. Id. ¶ 47. All nine of the AVPs reporting to Mr. Johnson were white

and six were men. Id.

      The Property Tax group led by Mr. Johnson falls within AT&T Services’ Tax

department. Id. ¶¶ 23-25. The Tax department, in turn, is a unit of the Finance

department led by Chief Financial Officer John Stephens. Id. ¶ 26. In the fall of

2020, the Finance department underwent a reduction-in-force “because the

business was struggling.” See id. ¶¶ 70, 80. The reduction-in-force impacted the

Finance department’s senior leadership, of which Plaintiff was a member. See id.

¶ 66. At the time of the reduction-in-force, 89% of the senior leadership in AT&T

Services’ Finance department was male and 86% was white.            Declaration of

Yendelela Neely Holston (“Holston Decl.”) ¶ 5, Ex. A-1 (“Stephens E-mail”).2

Accordingly, senior leadership impacted by the reduction-in-force would, by

sheer numbers, be predominantly male and white. As part of the reduction-in-


2 In Paragraph 63 of the Complaint, Plaintiff refers to a July 27, 2020 e-mail from
“CFO John Stephens . . . entitled ‘More work to do in Finance.’” Compl. ¶ 63.
Plaintiff then provides a somewhat extensive recitation of what he purports were
contents of that e-mail in an effort to establish AT&T Services’ alleged age, race
and gender animus. I. ¶¶ 64-65. Because Plaintiff has referred to the e-mail in the
Complaint and the e-mail is central to his claims, this “[C]ourt may consider th[is]
document[] as part of the pleadings in the case and may consider [it] in ruling on
a motion to dismiss.” Pearson v. Wesley Woods Senior Living, Inc., No. 1:19-CV-0176-
WMR-JSA, 2019 WL 8438497, at *2 (N.D. Ga. July 18, 2019), report and
recommendation adopted, 1:19-cv-00176-WMR-JSA, 2019 WL 8438496 (N.D. Ga. Aug.
26, 2019). Accordingly, a true and correct copy of CFO Stephens’ July 27, 2020 e-
mail, attached as Exhibit A-1 to Holston Decl., is properly before the Court and
may be considered in ruling on AT&T Service’ Motion to Dismiss.

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force, approximately twelve positions were eliminated within the Tax department.

Id. ¶ 80. Plaintiff asserts that “approximately nine of them were male, all were

white, and all were over the age of fifty.” Id.

       Plaintiff and the two other “AVP positions responsible for property tax

negotiations and property tax research and planning that report[ed] to VP, Gary

Johnson,” were considered for elimination. Id. ¶ 81. All three of the individuals

fitting this description were white and male. Id. ¶ 83. The work of these three

individuals was consolidated into one role; thus, two of the positions were

eliminated. See id. On or about September 17, 2020, Plaintiff was informed that

his position was one of the two Tax Research and Planning AVP positions selected

for elimination, and his last day of work at AT&T Services was November 2, 2020.

Id. ¶¶ 67, 68, 78.

       On March 1, 2021, Plaintiff filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”) where he “declare[d] under

penalty of perjury” that he “believe[d] . . . AT&T terminated [his] employment

because of [his] age, race, and gender.” Id. ¶ 13; Holston Decl. ¶ 7, Ex. A-2 (“EEOC

Charge”) (emphasis added).3 Specifically, Plaintiff alleged that he was told he


3The EEOC Charge is a statutory perquisite to Plaintiff’s Title VII claims and
determines the scope of the Title VII claims that Plaintiff can assert in this action.
Chanda v. Engelhard/ICC, 234 F.3d 1219, 1225 (11th Cir. 2000). Thus, Plaintiff
unsurprisingly references its filing and contents in the Complaint. See Compl. ¶¶
13-15. Because Plaintiff has referred to his EEOC Charge in the Complaint, and it

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would not be promoted because he “was an old, white male.” Holston Decl. ¶ 7,

Ex. A-2. Plaintiff also complained that “[d]uring the several years prior to [his]

separation, the Tax Department has seemed to hire and promote more young, non-

white, and women candidates.” Id.

      This lawsuit followed on November 2, 2021. The factual allegations in

Plaintiff’s Complaint largely mirror his EEOC Charge, but Plaintiff also alleged in

his Complaint for the first time that Mr. Johnson “frequently discussed the ages of

Tax department employees” and that AT&T Services’ Senior VP of Human

Resource Operations Scott Smith and Controller Debbie Dial led a webcast about

AT&T Services’ Diversity, Equity & Inclusion (“DEI”) initiative in the fall of 2020

where they “referenced having sent demographic data on AT&T’s workforce to

the company’s senior leaders”; “stated that [AT&T Services] had been formulating

D&I operating plans for which leaders would be accountable”; and “stated AT&T

would conduct quarterly D&I operations reviews.” Compl. ¶¶ 49, 72-73.




is central to his claims, this “[C]ourt may consider th[is] documents as part of the
pleadings in the case and may consider [it] in ruling on a motion to dismiss.”
Pearson, 2019 WL 8438497, at *2. Accordingly, a true and correct copy of Plaintiff’s
EEOC Charge, attached as Exhibit A-2 to Holston Decl., is properly before the
Court and may be considered in ruling on AT&T’s Motion to Dismiss.

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                ARGUMENT AND CITATION OF AUTHORITY

      “[A] plaintiff with ‘a largely groundless claim’ [should not be] allowed to

‘take up the time of a number of other people . . . .’” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 558 (2007) (quoting Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 347 (2005)).

Accordingly, Rule 12(b)(6) of the Federal Rules of Civil Procedure permits courts

to dismiss complaints that fail to state a claim upon which relief may be granted

so they may “save the time and resources that would be wasted hearing evidence

on claims that are legally insufficient.” Birt v. Montgomery, 725 F.2d 587, 591 n.7

(11th Cir. 1984) (citation omitted).

      To survive a motion to dismiss, a claim for relief must be supported by

sufficient factual matter to be “plausible on its face.” Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 570). As the Eleventh Circuit has explained, the facts alleged

in the complaint “must be enough to raise a right to relief above the speculative

level.” Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1295 (11th Cir. 2007) (quoting

Twombly, 550 U.S. at 554). It is not enough that there be a “sheer possibility that a

defendant has acted unlawfully.” Iqbal, 556 U.S. at 678. Further, “the court need

not accept inferences drawn by plaintiff if such inferences are unsupported by the

facts set out in the complaint. Nor must the court accept legal conclusions cast in

the form of factual allegations.” Hood v. Perdue, 540 F. Supp. 2d 1350, 1356 (N.D.

Ga. 2008) (citation omitted). A complaint that does not nudge the “claims across



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the line from conceivable to plausible . . . must be dismissed.” Twombly, 550 U.S.

at 570.

       Here, Plaintiff’s Complaint offers numerous opinions, speculations, and

inferences improperly casted as facts. The actual facts in his Complaint do not

raise a right to relief above the speculative level. Accordingly, dismissal is proper.

See Henley v. Turner Broad. Sys., Inc., 267 F. Supp. 3d 1341, 1354-55 (N.D. Ga. 2017)

(dismissing claim because plaintiff did not proffer enough factual content to “raise

a right to relief above the speculative level” (quoting Twombly, 550 U.S. at 555)).

 I.       Plaintiff Failed to Meet the But-For Pleading Requirements for His
          Section 1981 Claim

       “Congress passed the Civil Rights Act of 1866 in the aftermath of the Civil

War to vindicate the rights of former slaves.” Comcast Corp. v. Nat’l Ass’n of Afr.

Am.-Owned Media, 140 S. Ct. 1009, 1015 (2020), vacated and remanded by 804 F. App’x

709 (9th Cir. 2020). Section 1 of the Civil Rights Act of 1866, which is codified in

42 U.S.C. § 1981, gives “[a]ll persons within the jurisdiction of the United States . .

. the same right . . . to make and enforce contracts . . . as is enjoyed by white

citizens.” 42 U.S.C. § 1981(a). It is well-established that Section 1981 “provides

protection only on the basis of race.” Henley, 267 F. Supp. 3d at 1352 (emphasis

added) (quoting Rollins v. Ala. Cmty. Coll. Sys., 814 F. Supp. 2d 1250, 1259 n.1 (M.D.

Ala. 2011)); see Little v. United Techs, 103 F.3d 956, 961 (11th Cir. 1997) (“It is well-

established that § 1981 is concerned with racial discrimination in the making and


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enforcement of contracts.”). Therefore, it is not sufficient that race be merely a

“motivating factor” in the alleged unlawful conduct. See Comcast Corp., 140 S. Ct.

at 1014.

      The United States Supreme Court has made clear that the phrase “on the basis

of race” in Section 1981 equates to a “but-for causation standard.” Id. at 1016. Thus,

a plaintiff in a Section 1981 case “bears the burden of showing that race was a but-

for cause of [his] injury.” Id. at 1014. This burden is present at all stages of the

lawsuit, including at the pleading stage. Id. at 1014-15. Accordingly, to survive a

motion to dismiss, a Section 1981 plaintiff “must initially plead and ultimately

prove that, but for race, [plaintiff] would not have suffered the loss of a legally

protected right.” Id. at 1019 (emphasis added). In Comcast, the Supreme Court

held that a complaint fails to plausibly allege a Section 1981 violation if it identifies

race only as a “motivating factor” for the defendant’s actions rather than as the

“but-for” cause of those actions. Id. at 1017-19. “Put differently, a plaintiff cannot

survive a motion to dismiss upon a showing that racial discrimination was one

factor among many in a defendant’s decision. Racial discrimination must be the

determining factor.” Piccioli v. Plumbers Welfare Fund Local 130, U.A., No. 19-cv-

00586, 2020 WL 6063065, at *6 (N.D. Ill. Oct. 14, 2020) (decided after and

referencing Comcast) (emphasis added).




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      Here, Plaintiff has never asserted that race was the but-for cause or

determining factor in his termination. To the contrary, in his EEOC Charge,

Plaintiff asserted that “AT&T terminated [his] employment because of [his] age,

race, and gender.” EEOC Charge. Plaintiff provided multiple examples of the

ways in which he was allegedly aggrieved “because [he] was an old, white male”

and a “58-year-old white guy.” Id. Plaintiff “declare[d] under penalty of perjury”

that his entire EEOC Charge, including his assertions that his race was only one of

many reasons for his termination, was “true and correct.” Id.

      Plaintiff’s belief that numerous aspects of his identity motivated his alleged

mistreatment is reaffirmed in the Complaint. Indeed, the very first paragraph of

the Complaint states that “[t]his is a case of illegal age, race, and gender

discrimination in the workplace.” See Compl. ¶ 1 (emphasis added). Plaintiff then

purports to assert claims for race discrimination, gender discrimination, and age

discrimination all premised on the same conduct. See id. ¶¶ 2-4. In addition to

asserting counts of age and gender discrimination, Plaintiff devotes significant

portions of his Complaint and approximately half of his EEOC Charge to making

age-based allegations—ranging from purported ageist comments made by Mr.

Johnson to perceived age discrimination committed by him to general

observations Plaintiff has supposedly made about employment practices in the

Tax department. See id. ¶¶ 45, 46, 49-63, 86; EEOC Charge. Similarly, Plaintiff



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expends significant time arguing that his termination was partly based on his

gender. See, e.g., Compl. ¶ 84 (“Had AT&T eliminated any of Johnson’s three

female AVPs, this would have been inconsistent with AT&T’s D&I goals”); EEOC

Charge (“[AT&T] laid out plans for increasing . . . gender diversity”).

        Because Plaintiff’s Complaint and EEOC Charge clearly allege that age and

gender, in addition to race, were all factors in his termination, Plaintiff’s

Complaint is fatally deficient as a matter of law with respect to his Section 1981

claim. Plaintiff has not pled that race was the but-for cause of his injury. Thus, his

Section 1981 claim should be dismissed in accordance with binding Supreme

Court jurisprudence.

II.       Plaintiff’s ADEA Claim Fails Because Age is One of Many Factors
          Alleged for His Termination

        The ADEA makes it unlawful for an employer “to discharge any individual

or otherwise discriminate against any individual . . . because of such individual’s

age.” 29 U.S.C. § 623(a)(1) (emphasis added). The phrase “because of” in the

ADEA “indicate[s] a but-for causation requirement.” Comcast Corp., 140 S. Ct. at

1015 (citing Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 176-77 (2009)). Thus, to

prevail on an age-discrimination claim, “[a] plaintiff must prove by a

preponderance of the evidence (which may be direct or circumstantial), that age

was the ‘but-for’ cause of the challenged employer decision.” Ayala v. Sheriff,




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Broward Cnty. Fla., 594 F. App’x 602, 603 (11th Cir. 2015) (citing Gross, Inc., 557 U.S.

at 177-78).

      “This ancient and simple ‘but for’ common law causation test” is the same

one applicable in the Section 1981 context. Comcast Corp., 140 S. Ct. at 1014.

Indeed, in deciding that a complaint fails to plausibly allege a Section 1981

violation if it identifies race only as a “motivating factor” for the defendant’s

actions rather than as the “but-for” cause of those actions, the Supreme Court cited

the ADEA case Gross v. FBL Fin. Servs., Inc. for support. Comcast Corp., 140 S. Ct.

at 1011. Thus, under the ADEA, Plaintiff is required to initially plead and must

ultimately prove that but for his age he would not have suffered the loss of a

legally protected right. See id. at 1019; see also Piccioli, 2020 WL 6063065, at *6

(discussing the pleading standard for a Section 1981 claim and citing the but-for

requirement of the ADEA in support).

      Nonetheless, Plaintiff has never asserted that age was the but-for cause or

determining factor in his termination. To the contrary, at all stages from the EEOC

Charge to the Complaint, Plaintiff has repeatedly maintained that “AT&T

terminated [his] employment because of [his] age, race, and gender.” EEOC

Charge; see Compl. ¶¶ 1-4, 49, 52, 57, 59, 61, 80, 84, 85, 88 (asserting or inferring

that age, race, and gender were at issue). Plaintiff cannot simultaneously claim

discrimination based on age and gender and race and meet his burden under the



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ADEA. See Culver v. Birmingham Bd. of Educ., 646 F. Supp. 2d 1270, 1271-72 (N.D.

Ala. 2009) (“The only logical inference to be drawn from Gross is that an employee

cannot claim that age is a motive for the employer’s adverse conduct and

simultaneously claim that there was any other proscribed motive involved.”); see

also Whitaker v. Tenn. Valley Auth. Bd. of Directors, No. 3:08-1225, 2010 WL 1493899,

at *9 (M.D. Tenn. Apr. 14, 2010) (“Post-Gross, it is incongruous to posit such

alternate theories because the very presentation of different reasons for an action

suggest that age was not the sole reason for the action.”); McFadden v. Krause, 357

F. App’x 17, 19 (9th Cir. 2009) (finding after Gross, there “is no . . . basis for

recognizing a combined age/sex discrimination claim”). Accordingly, Plaintiff’s

ADEA claim fails for the same reason as his Section 1981 claim: Plaintiff failed to

allege that the protected category was the but-for cause of his termination. Thus,

Plaintiff has failed to plead a plausible claim under the ADEA, and his claim

should be dismissed.

III.       Plaintiff Has Not Pled Plausible Claims for Race or Gender
           Discrimination

         A complaint purporting to assert claims for race or gender discrimination

must assert sufficient facts to establish the statutory elements necessary to recover.

See Parker v. Diverse Staffing Ga., Inc., No. 1:20-cv-01913-TWT-RGV, 2020 WL

10575029, at *5 (N.D. Ga. Dec. 23, 2020), report and recommendation adopted, No. 1:20-

CV-1913-TWT, 2021 WL 3367263 (N.D. Ga. Jan. 12, 2021).             “This necessarily


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requires that a plaintiff include factual allegations for each essential element of his

. . . claim.” Id. (citation omitted). In a Title VII or Section 1981 case involving a

discharge as part of a reduction-in-force, Plaintiff is required to assert sufficient

factual content that allows the court to draw the reasonable inference that his

employer intended to discriminate against him in making the discharge decision.

See Daniels v. Westinghouse Elec. Corp., 772 F. Supp. 1278, 1281 (N.D. Ga. 1990)

(establishing elements of Title VII race and gender discrimination claims based on

reduction-in-force); Nealy v. SunTrust Bank, No. 21-11358, 2021 WL 5112819, at *2

(11th Cir. Nov. 3, 2021) (“Both Title VII and § 1981 have the same requirements of

proof and use the same analytical framework.”). Plaintiff’s Complaint does not

meet this pleading standard.

      Plaintiff’s Complaint appears to allege that his supervisor’s opinion about

Plaintiff’s odds of replacing him, AT&T Services’ DEI communications about the

demographic makeup of the company’s workforce and future plans, and

Plaintiff’s unsupported observations about recent employment practices in the Tax

department sufficiently demonstrate that AT&T Services discriminated against

him because of his race and gender. See Compl. ¶¶ 45, 46, 57, 61, 63-65, 72-76.

However, none of these allegations plausibly evince any racial or gender-based

animus or motive by AT&T Services to eliminate Plaintiff’s position because he is

a white male. Plaintiff’s allegations are purely speculative and unfounded. See



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Twombly, 550 U.S. at 555 (noting that “a plaintiff's obligation to provide the

‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions”

(alteration in original) (citation omitted)). Accordingly, dismissal is appropriate

because Plaintiff has not pled the essential elements of a Section 1981 or a Title VII

discrimination claim. See Jackson v. BellSouth Telecomms., 372 F.3d 1250, 1274 (11th

Cir. 2004) (affirming dismissal of disparate treatment claim because “plaintiffs

have not alleged any facts that support so much as an inference that racial animus

motivated the defendants”); Thornton v. Albany Drivers License, No. 1:11-CV-171

(CDL), 2012 WL 3191769, at *3 (M.D. Ga. Aug. 2, 2012) (dismissing Title VII and §

1981 race discrimination claims where plaintiff “did not allege any facts that

support an inference that racial animus motivated the [defendant]”).

         a. Mr. Johnson’s speculation about Plaintiff’s prospects of someday
            replacing him do not evince unlawful animus

      Plaintiff seems to allege that Mr. Johnson’s purported speculation that

Plaintiff was an unlikely candidate to be his successor because he was “an old,

white male” and, alternatively, “a 58-year-old white guy,” is evidence of racial and

gender-based animus. Compl. ¶¶ 57, 61. As an initial matter, the conversation

was entirely theoretical as Mr. Johnson was still employed, and his position was

not open. Moreover, Mr. Johnson’s opinions about Plaintiff’s prospects are merely

his predictions and clearly do not express any racial or gender-based hostility

towards Plaintiff.      Furthermore, even if his speculation demonstrates


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discriminatory animus, Plaintiff has not pled any facts to show that Plaintiff’s

position was eliminated as a result of this alleged animus. Indeed, there can be no

nexus between Mr. Johnson’s supposed animus and Plaintiff’s job elimination

because all three Tax Research and Planning AVP positions that Mr. Johnson could

have chosen among for elimination were occupied by white men. See id. ¶ 83. In

fact, the entire department was overwhelmingly white and male. See Stephens E-

mail. Thus, any reduction-in-force would necessarily impact mostly white men

unless women and people of color were specifically targeted. For these reasons,

Mr. Johnson’s alleged isolated remarks cannot raise an inference of discrimination.

See, e.g., Soto v. Marist Coll., No. 17-CV-7976 (KMK), 2019 WL 2371713, at *5

(S.D.N.Y. June 5, 2019) (granting motion to dismiss because “’[i]solated derogatory

remarks by a decisionmaker alone do not raise an inference of discrimination’

absent ‘a nexus between the remarks and the adverse employment action’”

(citations omitted)); Lebowitz v. N.Y.C. Dep’t of Educ., 407 F. Supp. 3d 158, 177

(E.D.N.Y. 2017) (granting motion to dismiss Title VII claim where the plaintiff

alleged discriminatory remarks by school administrators but “fail[ed] to plead any

additional facts that would suggest” the defendants initiated the alleged adverse

employment action because of this discriminatory animus).

         b. CFO Stephens’ E-mail and a DEI Webcast similarly do not
            demonstrate that AT&T Services harbored racial or gender-based
            animus



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      CFO Stephens’ e-mail and a DEI webcast similarly do not make Plaintiff’s

race and gender discrimination claims any more plausible. See Compl. ¶¶ 63-65,

72-76. Neither contains any indicia of hostility towards white or male employees.

Rather, the animus comes from Plaintiff’s unfounded inferences and conclusions

and not from the content of either the e-mail or the webcast. Plaintiff’s conclusions

are not facts, and Plaintiff has not pled any facts to plausibly show that AT&T

Services was motivated by unlawful animus.

      Mr. Stephens’ “More work to do in Finance” e-mail states that the Finance

department must “focus more on attracting and retaining diverse employees” and

“will explore opportunities to further infuse diversity and inclusion” in the

workplace. Stephens’ E-mail. It does not state—nor can it be inferred—that AT&T

Services planned to terminate white or male employees to fulfill its DEI goals. In

fact, the words “race” and “gender” only appear in the titles to employee

demographic charts.       Id. (“Workforce Race / Ethnicity Demographics,”

“Workforce Gender & Race / Ethnicity Demographics,” etc.). AT&T Services’

mere awareness of its employee demographics certainly does not turn its decision

to eliminate Plaintiff’s position into one motivated by unlawful animus.

Moreover, Mr. Stephens’ e-mail neither explicitly states nor implicitly suggests

anything whatsoever about increasing or decreasing any specific demographic of

employees. Id. Plaintiff’s inference that it does is thus entirely speculative.



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Accordingly, Mr. Stephens’ e-mail cannot reasonably be read as evidence that

AT&T Services intended to or in fact eliminated Plaintiff’s position because of his

race or gender.

      Plaintiff’s allegations about the October 8, 2020 DEI webcast similarly do not

demonstrate that AT&T Services harbored animus towards white or male

employees or that it eliminated Plaintiff’s position because of such animus.

Plaintiff alleges in his Complaint that during the webcast, AT&T Services’

Controller and Senior Vice President of Human Resource Operations stated that

(1) demographic data of AT&T Services’ workforce was sent to senior leaders; (2)

AT&T Services was “formulating D&I operating plans”; and (3) the company

would “conduct quarterly D&I operations reviews.” Compl. ¶ 73. Plaintiff does

not allege that the “operating plans” or “operations reviews” involved or included

terminating white or male employees or that the webcast discussed AT&T

Services’ goals or plans to alter any specific demographic of employees. Id. ¶¶ 72-

75. In sum, Plaintiff’s allegation that the webcast evinces unlawful motive is,

again, wholly unsupported and based on sheer speculation. Plaintiff’s allegations

about the webcast therefore do not reasonably demonstrate whatsoever that AT&T

Services harbored animus towards white or male employees or was motivated to

eliminate Plaintiff’s position by the same.




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      Plaintiff’s efforts to offer CFO Stephens’ e-mail and a DEI webcast as

evidence of discriminatory animus are misplaced. Neither suggests that AT&T

Services is going to remove its current workforce or otherwise take action against

existing white male employees. There is nothing wrong or discriminatory about

noting that the Finance department and the Company did not have the diversity

of workforce one would expect based on the demographics of the population of

available employees. Thus, the e-mail and webcast in and of themselves do not

make Plaintiff’s race and gender discrimination claims any more plausible. “[T]o

state a plausible claim for relief, a plaintiff must go beyond merely pleading the

‘sheer possibility’ of unlawful activity by [ ] defendant[s].” Parker, 2020 WL

10575029, at *5. Plaintiff has failed to do so.

          c. Plaintiff’s rank speculation about recent hiring practices does not
             show discriminatory motive related to Plaintiff’s job elimination

      Finally, Plaintiff’s wholly unsupported allegations that since 2018, the

Finance department has hired and promoted “more heavily non-white, and more

heavily female” employees “than would be expected in the absence of

discrimination” similarly do not plausibly demonstrate that AT&T Services acted

with unlawful motive when it eliminated Plaintiff’s position. Compl. ¶¶ 45, 46.

Plaintiff offers no factual allegations whatsoever to support this claim; he does not

provide examples, statistics, or anecdotes. Furthermore, this conclusion is directly

contradicted by Plaintiff’s factual allegations that in 2020, “VP Gary Johnson had


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nine AVPs reporting to him, including DiBenedetto. All nine were white. Three

were women, and six were men.” Id. ¶ 47 (emphasis added). These statistics do

not suggest “heavily non-white” and “heavily female” hiring or promotion

practices.

      In addition, every AVP responsible for tax research and planning that

reported to Mr. Johnson was a white male. See id. ¶¶ 81, 83. Thus, it was

impossible for Mr. Johnson to select a non-white, non-male Tax Research and

Planning AVP for termination. By the same token, the Tax Research and Planning

AVP that Johnson retained was a white male.4 See id. ¶ 83. Thus, Plaintiff’s

inference that AT&T Services eliminated his position because he is white and male

is nothing more than unsupported, rank speculation that should not be afforded

any weight by this Court. Franklin v. Anderson Media, No. 8:10-cv-2935-T-33MAP,

2011 WL 3875519, at *3 n.2 (M.D. Fla. Aug. 31, 2011) (holding that the “allegation .

. . is simply speculation and is not entitled to any deference, weight or

presumption in context of the Court’s consideration of a motion to dismiss” (citing

Twombly, 550 U.S. at 545)).


4Plaintiff also appears to allege that his positive performance reviews are evidence
of unlawful animus and discrimination. See Compl. ¶¶ 28-40. However, the Tax
Research and Planning AVP who was retained is also a white male, so Plaintiff’s
allegations of strong work performance are not indicia of discrimination. Id. ¶¶
81, 83. Moreover, Plaintiff does not allege that he was a better employee or
stronger performer than his peer AVP who was unaffected by the reduction-in-
force.

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                                 CONCLUSION

      Plaintiff’s Section 1981 and ADEA claims are foreclosed by the Supreme

Court’s decisions in Comcast Corp. and Gross, respectively. Plaintiff’s Section 1981

and remaining Title VII claims should also be dismissed because Plaintiff has

failed to sufficiently plead that AT&T Services harbored or acted with

discriminatory animus. Accordingly and as set forth more fully above, AT&T

Services’ Motion to Dismiss should be granted, and Plaintiff’s Complaint should

be dismissed in its entirety.

      Respectfully submitted this 3rd day of January, 2022.


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           LOCAL RULE 5.1(C) CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing pleading filed with the Clerk of Court

has been prepared in 13-point Book Antiqua font in accordance with LR 5.1(C).

NDGa.

      Respectfully submitted this 3rd day of January, 2022.


                                      /s/ Yendelela Neely Holston
                                      Yendelela Neely Holston




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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

JOSEPH DIBENEDETTO,                   )
                                      )
       Plaintiff,                     )
                                      )
v.                                    )        CIVIL ACTION NO.
                                      )        1:21-cv-04527-MHC-RDC
AT&T SERVICES, INC.,                  )
                                      )
       Defendant.                     )

                           CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2022, I served a copy of the foregoing

MEMORANDUM OF LAW IN SUPPORT OF AT&T SERVICES, INC.’S

MOTION TO DISMISS on counsel of record through the Court’s CM/ECF

system, which will notify all counsel of record as follows:

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